                      Case 2:06-cr-00425-LKK Document 85 Filed 11/24/08 Page 1 of 2
AO 245D-CAED (Rev. 9/01) Sheet 1 - Judgment in a Criminal Case for Revocation



                                    United States District Court
                                            Eastern District of California

          UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                     v.                                                    (For Revocation of Probation or Supervised Release)
                                                                           (For Offenses committed on or after November 1, 1987)
            CRYSTAL JOY HOUSLEY
                      (Defendant’s Name)                                   Criminal Number: 2:06CR00425-001


                                                                           Linda Harter, Assistant Federal Defender
                                                                           Defendant’s Attorney

THE DEFENDANT:
[U] admitted guilt to violation of charge 1 as alleged in the violation petition filed on October 22, 2008 .
[]  was found in violation of condition(s) of supervision as to charge(s) after denial of guilt, as alleged in the
    violation petition filed on .
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violation(s):
Violation Number                     Nature of Violation                                      Date Violation Occurred
1                                    Illicit Drug Use                                         09/25/2008




The court: [U] revokes: [ ] modifies: [ ] continues under same conditions of supervision heretofore ordered on June 26, 2007 .

       The defendant is sentenced as provided in pages 2 through 2 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

[]       Charge(s)        is/are dismissed.


         Any previously imposed criminal monetary penalties that remain unpaid shall remain in effect.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this judgment are fully paid.

                                                                                          November 17, 2008
                                                                                     Date of Imposition of Sentence




                                                                                       Signature of Judicial Officer


                                                                      LAWRENCE K. KARLTON, United States District Judge
                                                                              Name & Title of Judicial Officer


                                                                                            November 24, 2008
                                                                                                 Date
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AO 245B-CAED (Rev. 3/04) Sheet 2 - Imprisonment
CASE NUMBER:               2:06CR00425-001                                                               Judgment - Page 2 of 2
DEFENDANT:                 CRYSTAL JOY HOUSLEY


                                                        IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of 9 months.




[]       The court makes the following recommendations to the Bureau of Prisons:



[U]      The defendant is remanded to the custody of the United States Marshal.


[]       The defendant shall surrender to the United States Marshal for this district.
         [ ] at     on     .
         [ ] as notified by the United States Marshal.


[]       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         [ ] before on       .
         [ ] as notified by the United States Marshal.
         [ ] as notified by the Probation or Pretrial Services Officer.
         If no such institution has been designated, to the United States Marshal for this district.

                                                               RETURN
I have executed this judgment as follows:




         Defendant delivered on                                     to

at                                          , with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL



                                                                                        By
                                                                                                Deputy U.S. Marshal
